                IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION
                         Consolidated Civil Action

RALEIGH WAKE CITIZENS                           )
ASSOCIATION, et al.,                            )
                                                )
             Plaintiffs,                        )
                                                )
      v.                                        )
                                                            No. 5:15-CV-156-D
                                                )
WAKE COUNTY BOARD OF                            )
ELECTIONS,                                      )
                                                )
                                                )
             Defendant.

CALLA WRIGHT, et al.,                           )
                                                )
             Plaintiffs,                        )
                                                )
      v.                                        )           No. 5:13-CV-607-D
                                                )
STATE OF NORTH CAROLINA,                        )
                                                )
             Defendant.                         )

                 LEGISLATIVE LEADERS’ NOTICE OF FILING

      Speaker of the North Carolina House of Representatives, Tim Moore, and the

President Pro Tem of the North Carolina Senate, Phil Berger (hereafter, “legislative

leaders”) hereby file the following exhibits requested by the Court in its August 2, 2016

hearing:

      1.     Exhibit 1 is an illustrative map for a seven district plan for electing
             members of the Wake County School Board and the Wake County
             Board of Commissioners.



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       2.     Exhibit 2 is the standard stat pack that is attached to all plans
              considered by the North Carolina General Assembly. It includes
              population data, demographic data, and political data by district for
              the seven district plan for electing members of the Wake County
              School Board and the Wake County Board of Commissioners.

       3.     Exhibit 3 is an illustrative map for a two district plan for electing
              members of the Wake County School Board and the Wake County
              Board of Commissioners.

       4.     Exhibit 4 is the standard stat pack that is attached to all plans
              considered by the North Carolina General Assembly. It includes
              population data, demographic data, and political data by district for
              the two district plan for electing members of the Wake County
              School Board and the Wake County Board of Commissioners.

       The legislative leaders have a USB flash drive in their possession that contains the

bloc assignment files for the above-described exhibits. Because of their format, these files

could not be filed electronically with the Court. As a result, the legislative leaders will be

hand delivering a copy of the USB flash drive containing the block assignment files to

the Clerk of Court and counsel for all parties.

       While the legislative leaders will be delivering the bloc assignment files to the

Court and counsel, all interested parties should be aware that these file may only be

accessed through a software program known as Maptitude, or a similar GIS-based

redistricting program. Should the Court so desire, the legislative leaders will make

available to it a computer with these capabilities. At the Court’s request, the legislative

leaders can also assign a member of the General Assembly’s non-partisan, professional

staff to assist the Court in accessing and evaluating the information.




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This, the 3rd day of August, 2016.

                                     OGLETREE, DEAKINS, NASH,
                                      SMOAK & STEWART, P.C.

                                     By: /s/Thomas A. Farr
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                           CERTIFICATE OF SERVICE

      I, Thomas A. Farr, hereby certify that I have this day filed the foregoing NOTICE
OF FILING using the CM/ECF system which will send notification of such filing to all
counsel of record.

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      This, the 3rd day of August, 2016.


                                           OGLETREE, DEAKINS, NASH
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                                           /s/ Thomas A. Farr
                                           Thomas A. Farr

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